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AO 245B (CASO Rev. 1/ 19) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                    V.                                (For Offenses Committed On or After November I, 1987)
            JACINTO REGULES-MORALES (1)
                                                                         Case Number: 3:19-CR-05127-JLS

                                                                      Jose G Badillo
                                                                      Defendant's Attorney
USM Number

• -
THE DEFENDANT:
IZI pleaded guilty to count(s)            One of the Superseding Information

D     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section/ Nature of Offense                                                                                      Count
8: 1325- Improper Attempted Entry by an Alien (Misdemeanor)                                                                   1




     The defendant is sentenced as provided in pages 2 through                   2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

D     The defendant has been found not guilty on count(s)

IZI Count(s)         In underling Information                    is           dismissed on the motion of the United States.

[ZI   Assessment: $10.00-Waived


•     JVTA Assessment*: $

      *Justice for Victims of Trafficking Act of2015 , Pub. L. No. 114-22.
IZI   No fine                   •        Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      Auril 17 2020
                                                                       Date of Imposition of Sentence
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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                JACINTO REGULES-MORALES (1)                                              Judgment - Page 2 of 2
CASE NUMBER:              3: 19-CR-05127-JLS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Time served




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •    at                              A.M.               on
       •    as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •    on or before
       •    as notified by the United States Marshal.
       •    as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

                                                                         to
       Defendant delivered on
                                                                              ----------------
 at                                       , with a certified copy of this judgment.
      ------------


                                                                    UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                    3: 19-CR-05127-JLS
